Case 0:17-cv-61125-MGC Document 97 Entered on FLSD Docket 05/11/2018 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        Case No. 17-61125-Civ-COOKE/GOODMAN

  TRUDY REYNOLDS, individually and
  on behalf of all others similarly situated,

         Plaintiff,

  vs.

  USHEALTH ADVISORS, LLC, a
  Texas limited liability company, MICHAEL
  SMOOT, individually and DONALD DENTE,
  individually,

        Defendants.
  ___________________________________/
                                    ORDER OF DISMISSAL
         THIS CASE has been DISMISSED with prejudice pursuant to Federal Rule of Civil
  Procedure 41(a)(1)(A)(ii), with each party to bear their or its own attorneys’ fees and costs,
  except as otherwise provided under the terms of their settlement agreement. See Joint Notice
  of Settlement, ECF No. 96. The Clerk shall CLOSE this case. All pending motions, if any,
  are DENIED as moot.
         DONE and ORDERED in chambers, at Miami, Florida, this 11th day of May 2018.




  Copies furnished to:
  Jonathan Goodman, U.S. Magistrate Judge
  Counsel of Record
